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                                                                 July 22, 1976




        Director of the Office for Civil Rights
        U. _S. Department of Health, Education           & Welfare
        Washington,    D. C. 20201

         Dear Sir:

         Pursuant to Section 86 .12 (bl of "Title IX of the Education Amendments
         of 1972 Prohibiting Sex Discrimination    in Education,"   this letter is to
         advise you that Union University of Jackson,     Tennessee,     is an
         educational   institution which is owned by the Tennessee      Baptist Convention,
         that we do not receive federal financial grants, but our students do
         participate  in federally financed student aid programs,     and that the
         following portions of the above mentioned regulations'     are not consistent
         with the religious tenets of such organization:

              1.     Sexual immorality, whether on· the part of a man or woman,
                     is contrary to the tenets of Southern Baptists.           In so far as
                     these regulations     require Union University       to treat the
                     pregnancy,    childbirth,    false pregnancy or termination        of
                     pregnancy of an unmarried woman as a mere temporary disability,
                     such regulations     conflict with the tenets of Southern Baptists.
                     Such regulations     pertaining to unmarried women, whether
                     students or prospective       students,   or employees,      or prospective
                     employees are inconsistent         with the policies of the University
                     and Southern Baptists,       and this institution    requests exemption
                     on this basis.     These inconsistent      regulations    include Sec.
                     86.Zl(c);  86.39; 86.40; 86.51 (b) (6); 86.57 (a)(l),            (b), (c);
                     86.60(a).

              2.     Southern Baptists do not ordinarily practice the ordination of
                     women to serve as pastors of local churches.    The college
                     requests that it be exempt from the regulations  of equal number




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            July 22, 1976
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                     of male and female students selecting church-related
                     vocations and receiving equal scholarship      assistance
                     for these church-related  vocations.    Sections 86. 37 (a) (bl;
                     86.51; 86.53; and 86.55(a) of such regulations        are
                     inconsistent  wtth this Southern Baptist tenet.

         Union University has tri(::d to comply with other parts of the Title IX
         regulations  and will have on record the results of our study, evidence
         of our modifications  of policies and practices,  and the proper grievance
         procedures for complain ants.

         Respectfully    submitted,



         Robert E. Craig
         President

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EXHIBIT O                                                                               2
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                                 UNITED STATES DEPARTMENT OF EDUCATION
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                               OFFICE OF THE ASSISTANT    SECRETARY     FOR CIVIL RIGHTS



                                               SEP3 1985



               Dr. Robert E. Craig
               President
               Union University
               Jackson, Tennessee 38305
               Dear President Craig:
              The Office for Civil Rights of the Department of Education (OCR/ED)has
              reviewed your response to our letter of March 25, 1985, requesting clari-
              fication of your request for a religious exemption from Title IX of the
              Education Amendmentsof 1972.
               In your letters you describe several policies practiced at Union University
               as consistent with the tenets of the religious organization that controls
               the institution.    These policies would violate certain sections of the
               regulation implementing Title IX absent a religious exemption. You have
               supplied information that establishes that the institution is controlled
               by a religious organization and that tenets followed by this organization
               conflict with specific sections of the Title IX regulation.     Therefore, I
               am granting Union University an exemption to those sections of the Title IX
               regulation appropriate to your request letters.    The exemption is limited
               to the extent that compliance with the Title IX regulation conflicts with
               the religious tenets followed by the institution.     Union University is
               hereby exempted from the requirements of the following sections of the
               Title IX regulation:    34 C.F.R. §§ 106.21{c); 106.37{a) and (b); 106.39;
                106.40; 106.5l{b)(6); 106.57(a)(l), (b), and (c); and 106.60(a). The
                basis for our decision to grant this exemption is discussed in further
               detail below.
               Your letters indicate that Union University 1s owned and operated by the
               Tennessee Baptist Convention, which is affiliated with the Southern Baptist
               Convention. The Tennessee Baptist Convention elects all 48 of the trustees
               who set policies and employ personnel. Additionally, the Tennessee Baptist
               Convention "furnishes a great percentage of [the university's]  financial
               support." This relationship between the Tennessee Baptist Convention and
               Union University adequately establishes that Union University is controlled
               by a religious organization as is required for consideration for exemption
               under§ 106.12 of the Title IX regulation.




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         EXHIBIT O                                                                                        3
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 Page 2 - Dr. Robert E. Craig
                          .,,
                          :,
 In your letters you indicate that the University considers sexual immorality
 as contrary to the tenets of Southern Baptists and "insist[s] upon high
 levels of moral conduct. Sexual activities outside of marriage are deemed
 contrary to Baptist interpretation of Biblical standards."      Based on these
 principles, Union University has requested and is granted by this letter,
 exemption to: 34 C.F.R. § 106.2l(c) (marital or parental status of appli-
 cants for admission);§ 106.39 (health and insurance benefits and services to
 students);§     106.40 (marital or parental status of students);§   106.5l{b)(6)
 (leaves of absence for pregnancy and related conditions and child care);
 § 106.57(a)(l),    (b) and (c) (marital and parental status of employees,
 including pregnancy); and§ 106.60(a) (pre-employment inquiries as to
 marital status).
 Your letter indicates that since Union University does not ordinarily prac-
 tice the ordination of women, it does not permit an equal number of male and
 female students to select church-related vocations or receive equal scholarship
 assistance for these church-related vocations. Based on this principle, Union
 University has requested and is granted by this letter, exemption to 34 C.F.R.
 § 106.37(a) and (b) (financial assistance for students).
 You also requested exemption to§ 106.51 {employment, general},§ 106.53
 (recruitment for employment) and§ 106.55 (job classification   and structure)
 based on your tenets and practices regarding morality and the award of finan-
 cial assistance to students selecting church-related vocations. Sections
 106.5l(b)(6), 106.57(a)(l), (b) and (c) and 106.37(a) and (b), to which
 Union University is granted exemption by this letter, more appropriately
 address the practices you have described in your letters than do§§ 106.53,
 106.55 or all of§ 106.51. Therefore, based upon the information in your
 letters, an exemption to§§ 106.53, 106.55 and all of§ 106.51 is not
 necessary.
 This letter should not be construed to grant exemption from any section of
 the Title IX regulation not specifically mentioned. In the event that OCR
 receives a complaint against your institution,   we are obligated to determine
 initially whether the allegations fall within the exemption herein granted.
 Also, in the unlikely event that a complainant alleges that the practices
 followed by the institution are not based on the religious tenets of the
 controlling organization, OCRis obligated to contact the controlling
 organization to verify those tenets.    If the organization provides an
 interpretation   of tenets that has a different practical impact than that
 described by the institution,   or if the organization denies that it controls
 the institution,   this exemption will be rescinded.




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  Page 3 - Dr. Robert E. Craig

  I hope this letter responds fully to your request. I regret the inordinate
  delay in responding to your original request. If you have any questions,
  please do not h~sitate to contact the Atlanta Regional Office for Civil Rights.
  The address is:
                      William H. Thomas
                      Regional Civil Rights Director
                      Office for Civil Rights, Region IV
                      Department of Education
                      101 Marietta Street, N.W., 27th Floor
                      Atlanta, Georgia 30323
                                          Sincerely,


                                          ~~~eto:
                                          Assistant Secretary
                                            for Civil Rights
  cc:     William H. Thomas, Regional Civil Rights Director, Region IV




EXHIBIT O                                                                        5
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                                                UNION
                                                UNIVERSITY
January 19, 2015

Ms. Catherine E. Lhaman
Assistant Secretary for Civil Rights
United States Department of Education
400 Maryland Ave. S.W.
Washington, DC 20202-1100

Re: Claim of Title IX Religious Tenet Exemption

Dear Ms. Lhaman,

I am President of Union University. As such, I am the highest ranking official of this institution. I submit
the following statement in order to claim on behalf of the University the religious tenet exemption from
Title IX of the Education Amendments of 1972 which is provided for in 20 U.S.C. 1681, and which is
the subject of 34 C.F.R. 106.12.

Union University is a Southern Baptist institution of higher education. It is a Tennessee nonprofit
corporation whose principal office address is 1050 Union University Drive, Jackson, Tennessee 38305.

Union University is controlled by a religious organization. That organization is the Tennessee Baptist
Convention. This Convention is a Southern Baptist general body whose constituency is the cooperating
Southern Baptist churches of Tennessee. It is an "association of churches" in the terminology of the
Internal Revenue Code. By Covenant Agreement with the Convention, the University "affirm(s) that
the trustees of Union University are elected by and responsible to the Tennessee Baptist Convention."
The University's Bylaws (2.1.1. Control and Management) declare: "The Charter vests the control of the
affairs of Union University in its Board of Trustees, which consists of not fewer than eighteen nor more
than thirty-six in number, elected by the Tennessee Baptist Convention." I enclose the University's
Bylaws.

The Convention's authority over the University constitutes control by the Convention which is more
than sufficient to cause the institution to be exempt from Title VII of the Civil Rights Act of l 964's
general prohibition against religious discrimination in employment under 42 U.S.C. 2000e-2, §703( e )(2),
as an educational institution "which is in whole or in substantial part, owned, supported, controJled, or
managed by a particular religion or by a particular religious corporation, association or society." (See,
for example, the decision of the United States Circuit Court of Appeals, Eleventh Circuit, regarding our
sister Southern Baptist university in Killinger v. Samford University, 113 F. 3d t 96 (1997).




                                   OFFICE         of the PRESIDENT
                 JACKSON,   TENNESSEE   38305-36\17   ?l!.661.5180   [llX   ?Jl.661.5444   www.uu.edu

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Ms. Catherine E. Lharnan
January 19, 2015
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This request for exemption is from provisions of Title IX to the extent application of those provisions
would not be consistent with the Convention's religious tenets regarding marriage, sex outside of
marriage, sexual orientation, gender identity (including but not limited to transgendered status),
pregnancy, and abortion.

I identify those provisions to be:

Admissions:
34 C.F.R. § 106.21 including but not limited to (b)(iii) (governing differential treatment on the basis of
sex in admissions); and (c) (governing admissions prohibition on the basis of marital or parental status).

Recruitment:
34 C.F.R. § 106.23 (governing nondiscriminatory recruitment).

Education Programs or Activities:
34 C.F.R. § 106.31(b)(4) (governing different rules of behavior or sanctions), and (b)(7) (otherwise
limiting any person in the enjoyment of any right, etc);
34 C.F .R. § 106.32 (governing housing);
34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker rooms);
34 C.F.R. § 106.40 (governing different rules based on marital or parental status of students); and
34 C.F.R. § 106.41 (governing athletics);

Employment:
34 C.F.R. § 106.51 (governing employment);
34 C.F.R. § 106.52 (employment criteria);
34 C.F.R. § 106.53 (recruitment);
34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment decisions);
and
34 C.F.R. § 106.60 (governing pre-employment inquiries).

Union University's purpose is stated as follows:

        Union University provides Christ-centered education that promotes excellence and character
        development in service to Church and society.

The University's mission statement includes the following:

       A cohering core value of our guiding vision is a call to faith, a call to be Christ centered in all
       that we are and in all that we do. We will seek to build a Christian liberal arts based community
       where men and women can be introduced to an understanding and appreciation of God, His
       creation and grace, and to humanity's place of privilege and responsibility in this world. We will




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Ms. Catherine E. Lhaman
January 19, 2015
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       seek to establish all aspects of life and learning on the Word of God, leading to a firm
       commitment to Christ and His Kingdom. To be a Christ-centered institution calls for us to
       establish the priority of worship and service in the Christian life while seeking to develop a
       generation of students who can be agents of reconciliation to a factious church in a hurting and
       broken world. This commitment calls for all faculty and staff to integrate Christian faith in all
       learning and doing, based on the supposition that all truth is God's truth and that there is no
       contradiction between God's truth made known to us in Holy Scripture and that which is revealed
       to us through creation and natural revelation.

The University's statement of faith declares first:

       The Scriptures. The Scriptures of the Old and New Testament were given by inspiration of God,
       and are the only sufficient, certain and authoritative rule of all saving knowledge, faith, and
       obedience.

Southern Baptist religious tenets have been described most extensively and most recently in The Baptist
Faith and Message 2000, a statement of faith affirmed by messengers constituting the Tennessee Baptist
Convention. That statement is attached.

In regard to marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy and
abortion, the following statements are illustrative:

       Marriage is the uniting of one man and one woman in covenant commitment for a lifetime. It is
       God's unique gift to reveal the w1ion between Christ and His church and to provide for the man
       and the woman in marriage the framework for intimate companionship, the channel of sexual
       expression according to biblical standards, and the means for procreation of the human race ....
       Children, from the moment of conception, are a blessing and heritage from the Lord. XVIII The
       Family, The Baptist Faith and Message 2000.

       Man is the special creation of God, made in His image. He created them male and female as the
       crowning work of His creation. The gift of gender is thus part of the goodness of God's creation.
       111Man, The Baptist Faith and Message 2000. (The Southern Baptist Convention elaborated on
       this tenet most recently in 2014 by the adoption of a resolution "On Transgender Identity." It is
       attached.)

       Christians should oppose racism, every form of greed, selfishness, and vice, and all forms of
       sexual immorality, including adultery, homosexuality, and pornography .... We should speak
       on behalf of the unborn and contend for the sanctity of all human life from conception to natural
       death." XV The Christian and the Social Order, The Baptist Faith and Message 2000.




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Ms. Catherine E. Lhaman
January 19, 2015
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The University's policies are rooted in these religious tenets. Application of a regulation would not be
consistent with these tenets if the regulation prohibited the institution from following its policies, that is,
if the regulation prohibited the University:

        From engaging in recruiting and admissions under a policy which called for the consideration of
        an applicant for admission's sexual orientation, gender identity (including but not limited to
        transgendered status), marital status, past and present practices regarding marriage, sex outside
        marriage, pregnancy, and abortion (these considerations collectively referred to hereafter as
        "student and employee characteristics"), and prohibited the institution from treating that person
        differently as a result of that consideration;

        From subjecting students to rules of behavior, sanctions, or other treatment because of these
        student characteristics. Examples would be the institution's rules regarding eligibility for
        employment of the student by the institution; the assignment of housing, restrooms and locker
        rooms, and restrictions to athletic activities by birth sex; rules prohibiting homosexual conduct
        including but not limited to a prohibition of a student's engaging in sex with a person of his or
        her birth sex; prohibition of sex outside of marriage between a man and a woman; sanctions as
        the result of pregnancy and abortion; and

        From making all employment decisions, including but not limited to selection criteria and pre-
        employment inquiries, recruitment, the decision to employ, retention decisions, and decisions
        regarding sanctions, in a manner which takes into consideration these employee characteristics.

Thus, this claim for exemption includes exemption from these specified regulations to the extent the
regulation would require the institution to treat marriage, sex outside of marriage, homosexuality, gender
identity, pregnancy and abortion in a manner that is inconsistent with the religious tenets of the
Convention.

I trust this letter is sufficient, but if you have any questions, please let me know. Thank you for your
attention to this matter.

Sincerely,


~-~~
Samuel W. "Dub" Oliver, Ph.D.
President

Enclosures:     Union University Board Guidelines and Policies containing Bylaws
                The Baptist Faith and Message 2000
                The 2014 Southern Baptist Convention Resolution "On Transgender Identity"




   EXHIBIT O                                                                                               9
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                           UNITED STATESDEPARTMENTOF EDUCATION
                                               OFFICE FOR CIVILRIGHTS
                                                                                        THEASSISTANT
                                                                                                   SECRETARY



March 24, 2015

Samuel W. Oliver, Ph.D.
President
Union University
I 050 Union University Drive
Jackson, Tennessee 38305-3697

Dear President Oliver:

The purpose of this letter is to respond to your January 19, 2015, letter to the U.S. Department of
Education, Office for Civil Rights (OCR), in which you requested a religious exemption from Title IX of
the Education Amendments of 1972 (Title lX). 20 U.S.C. § 1681, for Union University (University) of
Jackson, Tennessee. Title IX prohibits discrimination on the basis of sex in any education program or
activity operated by a recipient of Federal financial assistance.

The implementing regulation at 34 C.F.R. § I 06.12 provides that Title IX does not apply to an
educational institution controlled by a religious organization to the extent that application of Title JX
would be inconsistent with the controlling organization's religious tenets. Therefore, such educational
institutions are allowed to request an exemption from Title LXby identifying the provisions of Title IX
that conflict with a specific tenet of the religious organization. The request must identify the religious
organization that controls the educational institution and specif) 1 the tenets of that organization and the
provisions of the law and/or regulation that conflict with those tenets.

Your request explained that the University "is controlled by a religious organization. That organization is
the Tennessee Baptist Convention." Your letter states that "the trustees of Union University are elected
by and responsible to the Tennessee Baptist Convention." Your letter also references the University's
Bylaws (2.1. l. Control and Management) which state "[t]he Charter vests the control of the affairs of
Union University in its Board of Trustees, which consists of not fewer than eighteen nor more than thirty-
six in number, elected by the Tennessee Baptist Convention."

Your letter requests a religious exemption "from provisions of Title IX to the extent application of those
provisions would not be consistent with the Convention's religious tenets regarding marriage, sex outside
of marriage, sexual orientation, gender identity {including but not limited to transgendered status),
pregnancy, and abortion.'' In support of this request, you cite to The Baptist Faith and Message 2000. the
most recent statement of fajth affirmed by the Tennessee Baptist Convention. According to your letter,
that statement of faith explains that the tenets of the Convention are that marriage is between one man
and one woman and serves as the means for procreation, that God made man in male and female form,
and that the "gift of gender is thus part of the goodness of God's creation." You further cite the
Convention's belief that one should "speak on behalf of the unborn and contend for the sanctity of all
human life from conception to natural death."

You explain that it would not be consistent with the Convention's religious tenets for the University to
comply with Title IX to the extent that it prohibits the College from ·'engaging in recruiting and
admissions under a policy which called for the consideration of an applicant for admission's sexual
orientation, gender identity (including but not limited to transgendered status), marital status, past and
                              400 MARYLANDAYE.S.W., WASHINGTON, DC 20202-1100
                                               www.ed.gov
   The Department of £dw,1Hon's mi.9sion is to pl'Omote student achievement and preparation for global competitiveness
EXHIBIT O                   by fostering educational excellence and ensuring equal access.                           10
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Samuel W. Oliver - page 2


present practices regarding marriage, sex outside marriage, pregnancy and abortion; ... from subjecting
students to rules of behavior, sanctions, or other treatment because of these student characteristics[; or
from] making all employment decisions ... in a manner which takes into consideration these employee
characteristics."

You state that, for these reasons, The University is requesting an exemption from the following regulatory
provisions "to the extent the regulation would require the institution to treat marriage, sex outside of
marriage, homosexuality, gender identity; pregnancy and abortion in a manner that is inconsistent with
the religious tenets of the Convention:"

    •    34 C.F.R. § 106.2 l (governing admission);
    •    34 C.F.R. § I06.23 (governing recruitment of students);
    •    34 C.F.R. § 106.31(b)(4) (governing different rules of behavior or sanctions);
    •    34 C.F.R. § 106.31 (b )(7) (governing the limitation of rights, privileges, advantages, or
         opportunities);
    •    34 C.F.R. § I06.32 (governing housing);
    •    34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker rooms);
    •    34 C.F.R. § l 06.40 (governing different rules based on marital or parental status of students);
    •    34 C.F.R. § 106.4 I (governing athletics);
    •    34 C.F.R. § 106.51 (governing employment);
    •    34 C.F.R. § 106.52 (governing employment criteria);
    •    34 C.F.R. § 106.53 (governing recruitment of employees);
    •    34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
         decisions);
    •    34 C.F.R. § I 06.60 (governing pre-employment inquiries).

The University is exempt from these provisions to the extent that they prohibit discrimination on the basis
of marriage status, sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion and
compliance would conflict with the controlling organization's religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of Title IX
and the regulation other than as stated above. In the event that OCR receives a complaint against your
institution, we are obligated to determine ,initially whether the allegations fall within the exemption here
granted. Also, in the unlikely event that a complainant alleges that the practices folJowed by the
institution are not based on the religious tenets of the controlling organization, OCR is obligated to
contact the controlling organization to verify those tenets. If the organization provides an interpretation
of tenets that has a different practical impact than that described by the institution, or if the organization
denies that it controls the institution, this exemption will be rescinded.

1 hope this letter responds fully to your request. If you have any questions, please do not hesitate to
contact me.

Sincerely,




Catherine E. Lhamon
AssistantSecretary for Civil Rights
U.S. Department of Education




EXHIBIT O                                                                                                   11
